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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

Karlos Carlisle,                            )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )       No.
                                            )
Mountain Run Solutions, LLC, a              )
Utah limited liability company,             )
                                            )
       Defendant.                           )       Jury Demanded

                                         COMPLAINT

       Plaintiff, Karlos Carlisle, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s

collection actions violated the FDCPA, and to recover damages, and alleges:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction, pursuant to § 1692k(d) of the FDCPA and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant transacts business here.

                                           PARTIES

       3.      Plaintiff, Karlos Carlisle (“Carlisle"), is a citizen of the State of Alabama,

residing in the Northern District of Alabama, from whom Defendant attempted to collect

a defaulted consumer debt that he allegedly owed for a Vivint account for solar power

services for his home.

       4.      Defendant, Mountain Run Solutions, LLC (“Mountain”), is a Utah limited

liability company that acts as a debt collector, as defined by § 1692a of the FDCPA,
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because it regularly uses the mails, credit reporting and/or the telephone to collect, or

attempt to collect, defaulted consumer debts that it did not originate. Mountain operates

a defaulted debt collection business, and attempts to collect debts from consumers in

many states, including consumers in the State of Alabama. In fact, Defendant Mountain

was acting as a debt collector as to the defaulted consumer debt it attempted to collect

from Plaintiff.

       5.         Although Defendant Mountain is not authorized to conduct business in the

State of Alabama, it conducts business in Alabama.

                                   FACTUAL ALLEGATIONS

       6.         Due to financial difficulties, Plaintiff was unable to pay his debts, including

a debt he allegedly owed to Vivint for solar power service to his home. Defendant

Mountain attempted to collect this debt from him via a negative credit report. Unsure

about Defendant Mountain and unsure of the amount of the debt, Mr. Carlisle consulted

with counsel about his debt issues and the debt that Mountain was trying to collect.

       7.         Accordingly, Mr. Carlisle’s attorney wrote to Defendant Mountain, via

letters dated March 17, 2020 and March 19, 2020, to dispute the debt Mountain was

trying to collect. Copies of these letters are attached as Group Exhibit A.

       8.         On May 18, 2020, Mr. Carlisle obtained and reviewed copies of his

TransUnion and Experian credit reports, which showed that Defendant Mountain had

continued to report the debt, but had failed to note that the debt was disputed. The

pertinent parts of Mr. Carlisle’s TransUnion and Experian credit reports are attached as

Group Exhibit B.

       9.         Defendant’s violations of the FDCPA were material because Defendant’s



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failure to note that the debt was disputed when Defendant reported, or continued to

report, the debt on Plaintiff’s credit report impaired his credit rating and his ability to

obtain credit. Moreover, Defendant’s failure to note, when reporting the debt on

Plaintiff’s credit report, that the debt was disputed made it appear to Plaintiff that he did

not actually have the right to dispute the debt. Defendant’s collection actions alarmed,

confused and distressed Mr. Carlisle.

       10.    All of Defendant’s collection actions at issue in this matter occurred within

one year of the date of this Complaint.

       11.    Defendant’s collection communications are to be interpreted under the

“least sophisticated consumer” standard, see, Jeter v. Credit Bureau, 760 F.2d 1168,

1176 (11th Cir. 1985); LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1193-1194

(11th Cir. 2010).

                                         COUNT I
                          Violation Of § 1692e Of The FDCPA –
                          False or Misleading Representations

       12.    Plaintiff adopts and realleges ¶¶ 1-11.

       13.     Section 1692e of the FDCPA prohibits debt collectors from using any

false, deceptive or misleading means to collect or attempt to collect a debt, including,

but not limited to, communicating or threatening to communicate to any person credit

information which is known or which should be known to be false, including the failure to

communicate that a disputed debt is disputed, see 15 U.S.C. § 1692e(8)(“…the

following conduct is a violation of this section…including the failure to communicate that

a disputed debt is disputed…”); see also, Evans v. Portfolio Associates, 889 F.3d 337,

346 (7th Cir. 2018); Sayles v. Advanced Recovery Systems, 865 F.3d 246, 249-250 (5th



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Cir. 2017); and Brady v. Credit Recovery, 160 F.3d 64, 65 (1st Cir. 1998).

         14.    Defendant, by continuing to report the debt to credit reporting agencies,

when it knew the debt was disputed by the consumer, and by failing to report that the

debt was disputed, used false, deceptive or misleading means to collect or attempt to

collect a debt, in violation of § 1692e(8) of the FDCPA.

         15.    Defendant’s violations of § 1692e(8) of the FDCPA render it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees, see, 15 U.S.C. §

1692k.

                                         COUNT II
                           Violation Of § 1692f Of The FDCPA --
                       Unfair Or Unconscionable Collection Actions

         16.    Plaintiff adopts and realleges ¶¶ 1-11.

         17.    Section 1692f of the FDCPA prohibits a debt collector from using any

unfair or unconscionable means to collect or attempt to collect a debt, see, 15 U.S.C. §

1692f.

         18.    Defendant, by continuing to report the debt to credit reporting agencies,

when it knew the debt was disputed by Plaintiff, and by failing to report that the debt

was disputed, used unfair or unconscionable means to collect, or attempt to collect, a

debt, in violation of § 1692f of the FDCPA.

         19.    Defendant’s violations of § 1692f of the FDCPA render it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees, see, 15 U.S.C. §

1692k.

                                     PRAYER FOR RELIEF

         Plaintiff, Karlos Carlisle, prays that this Court:



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       1.      Find that Defendant’s collection practices violate the FDCPA;

       2.      Enter judgment in favor of Plaintiff Carlisle, and against Defendant, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.      Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Karlos Carlisle, demands trial by jury.

                                                   By: /s/ David J. Philipps_____________
                                                   One of Plaintiff’s Attorneys

                                                   By: /s/ Bradford W. Botes____________
                                                   One of Plaintiff’s Attorneys

Dated: June 1, 2020

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